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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN

  MIGUEL LUNA PEREZ, by his
  Next Friend, MARIA PEREZ

                Plaintiff,               Judge Paul L. Maloney

  v                                      No. 18-01134

  STURGIS PUBLIC SCHOOLS,

            Defendant.
  _______________________________/

      DEFENDANT, STURGIS PUBLIC SCHOOLS’ MOTION TO DISMISS

        Defendant seeks dismissal of this matter pursuant to Federal Rule of Civil

  Procedure 12(b)(6). Plaintiff has filed suit alleging that he was denied special

  education services as required by federal law. Plaintiff, however, has not exhausted

  his administrative remedies under the Individuals with Disabilities Act as is required

  by federal law before filing suit. Because of Plaintiff’s failure to exhaust his

  administrative remedies, which is explained in the Brief in Support, Plaintiff’s claim

  should be dismissed. Defendant sought concurrence with its motion. Concurrence

  was denied.

                                   s/TIMOTHY J. MULLINS
                                   GIARMARCO, MULLINS & HORTON, PC
  DATED: December 13, 2018         Attorney for Defendant
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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN

  MIGUEL LUNA PEREZ, by his
  Next Friend, MARIA PEREZ

               Plaintiff,                Judge Paul L. Maloney

  v                                      No. 18-01134

  STURGIS PUBLIC SCHOOLS,

            Defendant.
  _______________________________/

                  BRIEF IN SUPPORT OF DEFENDANT,
             STURGIS PUBLIC SCHOOLS’ MOTION TO DISMISS

                             SUMMARY OF THE CASE

        This case raises the questions whether Plaintiff was required to exhaust

  administrative procedures under the Individuals with Disabilities Education Act

  (“IDEA”) before filing a lawsuit, and whether Plaintiff indeed exhausted those

  procedures. The Act requires exhaustion of IDEA procedures when a plaintiff is

  “seeking relief that is also available under” the IDEA.

        Plaintiff, Miguel Perez is a disabled student at Sturgis Public Schools.

  Plaintiff received special education services under the IDEA because of a hearing

  impairment. Plaintiff has filed suit over a dispute regarding the special education

  accommodations he has received. Plaintiff, however, has not exhausted his

  administrative remedies under the IDEA before filing suit. Plaintiff settled the

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  dispute regarding his special education services before a due process hearing could

  be completed. Courts have repeatedly held that settling disputes before a due process

  hearing has been completed does not exhaust IDEA administrative procedures, and

  a plaintiff cannot file a lawsuit. Because of Plaintiff’s failure to exhaust

  administrative remedies, his claim should be dismissed.

                        STATEMENT OF ISSUE PRESENTED

  Since Plaintiff has filed suit regarding a dispute over his special education services,

  should Plaintiff be required to exhaust his administrative remedies under the IDEA

  before filing suit?

  Yes.

  Has Plaintiff exhausted his administrative remedies under the IDEA where the

  Plaintiff agreed to dismiss his due complaint by way of settlement before a due

  process hearing occurred?

  NO.



                        MOST CONTROLLING AUTHORITY

  20 U.S.C. § 1415(l) states: “before the filing of a civil action under such laws

  seeking relief that is also available under [IDEA], the procedures under

  subsections (f) and (g) shall be exhausted . . .”




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  Fry v. Napoleon Community Schools, –––U.S. ––––, 137 S.Ct. 743, 752, 197

  L.Ed.2d 46 (2017) held that “Section 1415(l) requires that a plaintiff exhaust the

  IDEA’s procedures before filing an action under the ADA, the Rehabilitation Act,

  or similar laws when his suit ‘seek[s] relief that is also available’ under the IDEA.”

  The Court concluded that in determining whether a suit indeed “seeks” relief for

  such a denial, a court should look to the gravamen of the plaintiff's complaint. Id. at

  752, 753

  A.F. v. Espanola Public Schools, 801 F.3d 1245 (10th Cir. 2015) held that a

  settlement of an IDEA claim following IDEA mediation, without completing a due

  process hearing, was not proper administrative exhaustion.

                                         FACTS

     1. THE IDEA.

        The Individuals with Disabilities Education Act (“IDEA”) is a comprehensive

  and complicated statutory scheme dedicated to the education of disabled students.

  20 U.S.C. § 1400, et. seq. The core purpose of the IDEA is “to ensure that all children

  with disabilities have available to them a free appropriate public education

  (“FAPE”).” § 1400(d)(1)(A). As defined in the Act, a FAPE comprises “special

  education and related services”—both “instruction” tailored to meet a child's

  “unique needs” and sufficient “supportive services” to permit the child to benefit

  from that instruction. §§ 1401(9), (26), (29).

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        Under the IDEA, an “individualized education program” (“IEP”) serves as the

  “primary vehicle” for providing each child with the promised FAPE. Honig v. Doe,

  484 U.S. 305, 311, 108 S.Ct. 592, 98 L.Ed.2d 686 (1988); see § 1414(d). IEPs are

  created by the child's “IEP Team,” which is a group of school officials, teachers, and

  parents that work collaboratively to identify the student’s educational needs. §§

  1414(d)(1)(A)(i)(II)(bb), (d)(1)(B). The IEP documents the child's current “levels of

  academic achievement,” specifies “measurable annual goals” for how she can “make

  progress in the general education curriculum,” and lists the “special education and

  related services” to be provided so that she can “advance appropriately toward

  [those] goals.” §§ 1414(d)(1)(A)(i)(I), (II), (IV)(aa).

        When parents and educators disagree on “any matter relating to the

  identification, evaluation, or educational placement of the child, or the provision of

  a [FAPE] to such child,” the parent and student must file an administrative complaint

  with local school officials. See Id. § 1415(b)(6), (f)(1)(A). Then the parties are

  instructed by statute to hold a “[p]reliminary meeting” with an eye toward talking

  through the grievance and trying for an early resolution. Id. § 1415(f)(1)(B)(i). They

  can also choose to resolve their differences through mediation. Id. § 1415(e). But if

  no settlement satisfactory to both sides comes to pass, the parties must proceed to a

  sort of trial, what IDEA calls an “[i]mpartial due process hearing.” Id. § 1415(f). If

  the hearing still doesn't satisfy parent and student, an administrative appeal may

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  follow. Id. § 1415(g)(1). If the parent and student still remain “aggrieved by the

  findings and decision made” after this appeal process, they may then (and only then)

  “bring a civil action” in federal court. Id. § 1415(i)(2)(A). At the same time, if the

  state fails to provide an appeals process, a party who is aggrieved by the findings

  and decision in the subsection (f) trial-like proceeding may also proceed to court. Id.

  Plainly in all this, Congress sought to ensure access to courts for IDEA claims but

  only failing the success of the many alternative dispute opportunities it provided.

        The IDEA is clear, however, that if there is a dispute regarding the

  accommodations provided a student, families must exhaust the IDEA’s

  administrative procedures outlined above before filing suit in court:

      before the filing of a civil action under such laws seeking relief that is also
      available under this subchapter, the procedures under subsections (f) and (g)
      shall be exhausted to the same extent as would be required had the action
      been brought under this subchapter. § 1415 (l).

     2. PLAINTIFF’S LAWSUIT

        Plaintiff alleges that he is a 23-year-old deaf individual who attended Sturgis

  Public School District from 2004 through 2016. Doc# 10 PgID 114, Amended

  Complaint ¶¶ 5-6. Plaintiff’s lawsuit alleges that school district denied him proper

  interpreter services and English-language instruction. Id. at PageID 115,116,118,

  ¶¶ 15,18,37-43. As a result, plaintiff claims that he was not provided an education

  while in class. Id. at PageID 118, ¶ 38-43.


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        Plaintiff claims that on December 27, 2017, he “filed an administrative due

  process claim alleging violations of the Individuals and Disabilities Education Act”

  and other statutes related to his belief he was denied educational accommodations.

  Id. at PageID 121, ¶ 69. In his due process claim, which is attached as Exhibit 1,

  Plaintiff alleges that he “is a student with a disability, as defined by the IDEA and

  the MARSE under the category of hearing impairment.” Exhibit 1, Due Process

  Complaint, ¶ 4. Plaintiff qualified for special education services as a result of his

  hearing impairment and received an IEP. Id. at ¶¶ 25-27, 38-44. Plaintiff contends

  that throughout his educational career, Sturgis Public Schools and St. Joseph

  Intermediate School District “have failed to provide him with a free and appropriate

  public education (“FAPE”), as required by the IDEA and the MARSE (Michigan

  Administrative Rules For Special Education), have failed to provide him with an

  equal educational opportunity, and have discriminated against him on the basis of

  his disability.” Ex. 1 Due Process Complaint, Id. at ¶¶ 2, 105-129, 130-141. In

  support of this claim, Plaintiff argues, among things, that the school district not

  provide him with intensive language instruction to develop effective communication

  skills; did not provide Miguel with consistent exposure to an accessible mode of

  language such as American sign language; did not address Miguel’s lack of progress

  towards the goals and his IEP; and failed to consider opportunities for direct

  instruction and direct interaction with peers. Id. at ¶¶ 114-129.

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         Plaintiff alleges that “[o]n August 15, 2018, the administrative law judge

  dismissed with prejudice all claims brought pursuant to the IDEA and MARSE, due

  to the parties having reached an agreement resolving such claims.” Doc#10, PageID

  122, Amended Complaint ¶ 71. There is no allegation or proof, however, that

  Plaintiff completed the due process hearing.

     3. DEFENDANT STURGIS PUBLIC SCHOOLS’ MOTION TO DISMISS

         On October 12, 2018, Plaintiff filed his complaint against the School District

  relating to the alleged denial of accommodations to the effect of denying him an

  education. On November 16, 2018, Plaintiff filed a motion for leave to file an

  amended complaint, which in part, added allegations related to Plaintiff’s pursuit of

  IDEA procedures. Plaintiff’s motion was granted, and Plaintiff filed his First

  Amended Complaint. Doc#10, PageID 112-125.

         Defendant Sturgis Public Schools moves to dismiss the Complaint for failure

  to state a claim under Rule 12(b)(6) of the Federal Rules of Civil Procedure for the

  reason that Plaintiff has not fully exhausted his administrative remedies under the

  Individuals with Disabilities Education Act (“IDEA”), 20 U.S.C. § 1400 et seq.,

  before filing suit.

                              STANDARD OF REVIEW

         Defendant seeka dismissal of this matter pursuant to Federal Rule of Civil

  Procedure 12(b)(6). When a Court is presented with a Rule 12(b)(6) motion, "it may

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  consider the [c]omplaint and any exhibits attached thereto, public records,

  items appearing in the record of the case and exhibits attached to the

  defendant's motion [for judgment on the pleadings], so long as they are referred

  to in the [c]omplaint and are central to the claims contained therein." Bassett

  v. Nat'l Collegiate Athletic Ass'n, 528 F.3d 426, 430 (6th Cir. 2008). The Court must

  construe these documents "in the light most favorable to the plaintiff, accept all

  factual allegations as true," and determine whether the plaintiff has alleged "enough

  factual matter" to "state a claim to relief that is plausible on its face." Cline v. Rogers,

  87 F.3d 176, 179 (6th Cir. 1996); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556, 127

  S. Ct. 1955, 167 L. Ed. 2d 929 (2007). "Where a complaint pleads facts that are

  merely consistent with a defendant's liability," it has failed to show that relief is

  plausible as opposed to a "sheer possibility that a defendant has acted unlawfully."

  Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009)

  (internal quotation marks omitted). The Court also “need not accept as true legal

  conclusions or unwarranted factual inferences. Morgan v. Church’s Fried Chicken,

  829 F.2d 10, 12 (6th Cir. 1987).

                                LAW AND ARGUMENT

     I.      PLAINTIFF IS REQUIRED TO EXHAUST HIS ADMINISTRATIVE REMEDIES
             UNDER THE IDEA BEFORE FILING SUIT.

          The IDEA ensures that children with disabilities receive necessary special

  education services and provides administrative remedies to achieve that goal. Forest
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 Grove Sch. Dist. v. T.A., 557 U.S. 230, 245, 129 S.Ct. 2484, 174 L.Ed.2d 168 (2009);

 Covington v. Knox Cty. Sch. Sys., 205 F.3d 912, 915 (6th Cir. 2000). Section 1415(l)

 of the IDEA addresses that Act’s relationship with other statutory remedies and

 contains an exhaustion requirement:

       Nothing in this chapter shall be construed to restrict or limit the rights,
       procedures, and remedies available under the Constitution, the
       Americans with Disabilities Act of 1990, Title V of the Rehabilitation
       Act of 1973, or other Federal laws protecting the rights of children with
       disabilities, except that before the filing of a civil action under such
       laws seeking relief that is also available under this subchapter, the
       procedures under subsections (f) and (g) shall be exhausted to the
       same extent as would be required had the action been brought
       under this subchapter.

 29 U.S.C. § 1415(l) (emphasis added). The failure to exhaust administrative

 remedies will result in dismissal. See generally Covington, 205 F.3d at 915; Doe ex

 rel. Doe v. Dublin City Sch. Dist., 453 Fed.Appx. 606, 609 n.1 (6th Cir. 2011);

 Sophie G. v. Wilson Co. Sch., 265 F.Supp.3d 765 (M.D. TN. 2017).

       Interpreting the above statute, the Supreme Court in Fry v. Napoleon

 Community Schools, –––U.S. ––––, 137 S.Ct. 743, 752, 197 L.Ed.2d 46 (2017) held

 that “Section 1415(l) requires that a plaintiff exhaust the IDEA’s procedures before

 filing an action under the ADA, the Rehabilitation Act, or similar laws when his suit

 ‘seek[s] relief that is also available’ under the IDEA.” The Court concluded that in

 determining whether a suit indeed “seeks” relief for such a denial, a court should

 look to the gravamen of the plaintiff's complaint. Id. at 752, 753 (“What matters is

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 the crux—or, in legal-speak, the gravamen—of the plaintiff's complaint, setting

 aside any attempts at artful pleading.”). If the substance of the complaint is a failure

 to provide FAPE, then the plaintiff must exhaust his administrative remedies under

 the IDEA before filing suit. Id.

       The Court elaborated on how to determine whether a plaintiff “seeks” relief

 for the denial of a FAPE. The Court instructed courts to look to the “substance” of,

 rather than the labels used in, the plaintiff's complaint. The Court stressed that the

 use (or non-use) of particular labels is not what matters. The inquiry, for example,

 does not ride on whether a complaint omits the precise words “FAPE” or “IEP.”

 Such a “magic words” approach would make § 1415(l )'s exhaustion rule too easy to

 bypass.

       The Supreme Court also identified clues as to whether the plaintiffs were

 seeking relief for the denial of a FAPE. Id at 756-757. First, courts should consider

 whether the plaintiff could have brought essentially the same claim if the alleged

 conduct had occurred at a public facility that was not a school. Second, courts should

 consider whether an adult at the school could have brought the same claim. Third,

 courts should consider the history of the proceedings. In particular, a court may

 consider that a plaintiff has previously invoked the IDEA's formal procedures to

 handle the dispute—thus starting to exhaust the Act's remedies before switching

 midstream. The Court found that a plaintiff's initial choice to pursue that process

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 (i.e., by filing a complaint, which triggers a preliminary meeting or possibly

 mediation, and then a due process hearing) may suggest that she is, indeed, seeking

 relief for the denial of a FAPE—with the shift to judicial proceedings prior to full

 exhaustion reflecting only strategic calculations about how to maximize the

 prospects of such a remedy.

       When analyzing these clues, the result is that Plaintiff’s claims should be

 exhausted before he can file this suit. The last clue should not be in dispute. Plaintiff

 has filed a due process hearing request under the IDEA on December 27, 2017

 related to the relief requested in this lawsuit. Plaintiff concedes that he has sought

 IDEA administrative remedies. Amended Complaint Doc#10, PageID 122 ¶ 71; Ex.

 1 Due Process Complaint.

       These clues also suggest that Plaintiff’s claim is one seeking relief for the

 denial of FAPE. These are all allegations that are uniquely made in a school setting,

 not in a public facility that was not a school. First, Plaintiff could not walk into a

 public library and demand that the library teach the student sign language and teach

 the student how to read. A student is not provided a teacher and paraprofessional at

 a public library. A student does not receive eighth-grade instruction at City Hall.

 There is no curriculum provided at the police department. Arguing about the quality

 of educational instruction provided by a teacher and paraprofessional, and the

 curriculum a student receives in school, are solely educational claims. Second, a

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 non-student adult could not enter a public school and demand that the school teach

 the adult sign language. The education of students is a uniquely school function.

       Under the Supreme Court’s test in Fry, these allegations relate to the alleged

 denial of a FAPE and must be exhausted. This is confirmed by this Court’s recent

 decision in Richards v. Sturgis Public Schools, case no. 1:18-CV-358 (W.D. MI

 Sept. 14, 2018, J. Jonker), which is a nearly identical lawsuit. Ex. 2. In Richards,

 another hearing-impaired student filed suit alleging that the student was denied

 educational assistance for also believing he was denied a competent interpreter.

 Instead, the Richards plaintiff argued that the interpreter (which is the same

 interpreter provided in this case) was incompetent and impeded his access to a public

 education. The plaintiff, however, had not exhausted IDEA remedies before filing

 suit. This Court dismissed the Richards matter due to the plaintiff’s failure to exhaust

 administrative remedies under the IDEA before filing suit.

       Here, learning the lesson from Richards, plaintiffs have artfully pled in an

 attempt to avoid any explicit references to the IDEA. But that is not enough to avoid

 dismissal. In fact, the Supreme Court cautioned against plaintiffs from artfully

 pleading, finding that such tactics would not relieve the party’s obligation to exhaust

 all available IDEA remedies. See Fry, 137 S.Ct. at 752, 753. When examining the

 gravamen of the claim, including the Due Process Complaint attached as Exhibit 1,

 the substance of the dispute is in fact seeking relief further their belief that a free and

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 appropriate public education was denied. Plaintiff must fully exhaust IDEA

 administrative remedies before filing suit for such a claim.

    II.      PLAINTIFF’S CLAIM HAS NOT BEEN PROPERLY EXHAUSTED.

          Plaintiff claims that he has exhausted his administrative remedies under the

 IDEA because he filed a due process complaint regarding the dispute. However,

 Plaintiff also concedes that the complaint was dismissed before the hearing

 concluded because the parties reached a settlement. Because the due process

 complaint was dismissed before its completion, Plaintiff’s argument is incorrect. See

 A.F. v. Espanola Public Schools, 801 F.3d 1245 (10th Cir. 2015)(Ex. 3).

          Section 1415 (l) provides clear instruction as to how claims are properly

 exhausted:

          “except that before the filing of a civil action under such laws seeking
          relief that is also available under [IDEA], the procedures under
          subsections (f) and (g) shall be exhausted"

 So, to bring a lawsuit under federal law that “seek[s] relief that is also available

 under” IDEA, families first must fully exhaust the procedures set forth in subsections

 (f) and (g) “to the same extent as would be required had the action been brought

 under” IDEA. Subsection (f) relates to due process hearings. Subsection (g) refers to

 appeals of due process hearings if the initial hearing was conducted by a local

 educational agency as opposed to a state administrative hearing officer.




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          Circuit Courts have found that the policies underlying the full exhaustion of

 the administrative procedures are both sound and important. Frazier v. Fairhaven

 Sch. Comm., 276 F.3d 52, 64 (1st Cir.2002); Crocker v. Tennessee Secondary School

 Athletic Ass'n, 873 F.2d 933, 935 (6th Cir. 1989). Exhaustion meets Congress’ view

 “that the needs of handicapped children are best accommodated by having the

 parents and the local education agency work together to formulate an individualized

 plan for each handicapped child's education.” Crocker, 873 F.2d at 935. Exhaustion

 also provides an enormous benefit to the Court. Id. The IDEA recognizes that federal

 courts are generalists with no expertise in special education matters. Id. In contrast,

 the IDEA administrative procedure provides courts with expert fact finding by a

 specialist in special education laws and issues. 20 U.S.C. § 1415(f)(3)(A); §

 1415(f)(3)(D). As the First Circuit recognized in Frazier, “[t]his [approach] makes

 sense because the problems attendant to the evaluation and education of those with

 special needs are highly ramified and demand the best available expertise.” 276 F.3d

 at 61.

    A. Settling Before Completing A Due Process Hearing Does Not Satisfy The
       Exhaustion Requirement.

          Courts have repeatedly found that a settlement agreement entered into before

 the completion of a due process hearing does not exhaust administrative remedies

 under 20 U.S.C. § 1415(i)(2)(A) of the IDEA. This pronouncement was recently

 echoed in an Opinion authored by current Supreme Court Justice Gorsuch while still
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 on the Tenth Circuit bench. See A.F. v. Espanola Public Schools, 801 F.3d 1245

 (10th Cir. 2015)(Ex. 3). In A.F., the Tenth Circuit indeed held that a settlement of an

 IDEA claim following IDEA mediation, without completing a due process hearing,

 was not proper administrative exhaustion. Id.

       A.F. presents nearly identical facts as in this case. In A.F., the Tenth Circuit

 described the case as follows:

              This case ended almost before it began. Christine B. filed her
       administrative complaint, just as she had to. But before any hearing
       could be held, she sought to mediate her dispute. And the choice proved
       fruitful, for in the end the parties signed a settlement agreement. Indeed,
       as a result of the settlement, Christine B. asked the administrative
       agency to dismiss her IDEA claims with prejudice, something the
       agency duly did.
              But after ending her suit she sought to begin it again. Despite the
       satisfactory result she received through mediation, Christine B. later
       took to mind the thought she might sue—and she did. To be sure, her
       lawsuit didn't seek to press a claim under IDEA, itself a tacit
       acknowledgment that her mediated settlement precluded that option.
       Instead, she sued under the Americans with Disabilities Act, the
       Rehabilitation Act, and 42 U.S.C. § 1983, though the allegations in her
       federal court complaint and those in her original IDEA administrative
       complaint are nearly identical: both allege that A.F. suffers from the
       same disabilities and both contend that the school district failed to take
       her disabilities into account in her educational program.

 Id. at 1246, Exhibit 3.

       The plaintiff in A.F. claimed she had exhausted IDEA administrative

 procedures by settling the matter through IDEA mediation, before the due process

 hearing was completed. The Tenth Circuit disagreed with the plaintiff’s argument,

 stating, “[t]he problem is this vision of exhaustion just isn't the one embodied in the
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 plain text of the statute.” Id. at 1248. As to why such a settlement would not satisfy

 the exhaustion requirement, Justice Gorsuch turned to the plain language of the

 statute:

        “If subsection (l ) said that to bring a federal lawsuit under the ADA or
        Rehabilitation Act or Section 1983 you merely had to “satisfy the
        administrative procedures under subsection (f),” we might be able to
        say that, because subsection (f) references subsection (e) and its
        provision of mediation as an alternative means of dispute resolution,
        Christine B. is free and clear to pursue her lawsuit. But that's not what
        subsection (l ) says. It says that to bring a civil action under federal law
        seeking the same relief IDEA supplies, you must exhaust the
        procedures in subsections (f) and (g) “to the same extent” as you must
        to bring a civil action under IDEA itself. And to earn the right to bring
        a civil action under IDEA, it's just an implacable fact that you must
        qualify under subsection (i) as a party “aggrieved by the findings
        and decision” of administrative trial or appellate authorities.” 801
        F.3d at 1248.

 Thus, the Court found that the unambiguous text of the IDEA requires a due process

 hearing to be completed with fact findings and a decision to satisfy the exhaustion

 requirement. Id. at 1247. Entering into a settlement before completion of a due

 process hearing, the Court found, prevented such findings and decisions, which

 courts have found to provide such an enormous benefit. Id.; Crocker, 873 F.2d at

 935; Frazier., 276 F.3d at 64.

        Similarly, in Zdrowski v. Rieck, No. 13–12995, 2015 WL 4756470,

 (E.D.Mich. Aug.11, 2015)(J. Michelson), the Eastern District of Michigan also

 recently found that a settlement agreement did not “suffice[] for IDEA exhaustion

 purposes-because there was no due process hearing, there are no findings of fact,
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 and the order itself does not preserve Plaintiff's right to bring suit in the district

 court.” Id, at *13.

       Other District Courts have come to similar conclusions, recognizing that

 development of the underlying factual record is one of the primary purposes of

 exhaustion, and that it is simply not served by settlement without any decision or

 findings by a hearing officer. See, e.g., J.H. ex rel. J.H. v. Egg Harbor Twp. Bd. of

 Educ., No. 08–488, 2009 WL 1322514, at *1 (D.N.J. May 11, 2009) (holding orders

 of settlement insufficient for exhaustion where “[t]he ALJ orders incorporating the

 agreements contain no factual record, no resolution of evidentiary disputes, nothing

 but the agreement arrived at by the two parties”); Pedraza v. Alameda Unified Sch.

 Dist., No. 05–04977, 2007 WL 949603, at *5 (N.D.Cal. Mar.27, 2007) (holding

 mediated settlement agreement insufficient to establish federal jurisdiction, but also

 finding exhaustion futile on the facts presented); Hamilton v. Bd. of Sch. Comm'rs,

 993 F.Supp. 884 (D.Ala.1996), aff'd without opinion, 112 F.3d 1172 (11th Cir.1997)

 (explaining that “there is nothing inherent in a settlement agreement that might fulfill

 the purposes otherwise satisfied by administrative review.”); see also J.H. ex rel.

 J.H. v. Egg Harbor Twp. Bd. of Educ., No. CIV08–488(JBS), 2009 WL 1322514, at

 *1 (D.N.J. May 11, 2009) (holding that two orders of settlement did not suffice for

 exhaustion where “[t]he ALJ orders incorporating the agreements contain no factual

 record, no resolution of evidentiary disputes, nothing but the agreement arrived at

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 by the two parties”); Banks ex rel. Banks v. Modesto City Sch. Dist., 2005 WL

 2233213, at *8–9 (E.D.Cal. Sept. 9, 2005) (“As in Hamilton and unlike the case in

 Woods [v. New Jersey Dept. of Educ., 796 F.Supp. 767 (D.N.J.1992) ], the settlement

 agreement in this case was not entered into after hearings had begun and it was not

 approved of by an ALJ or other official. Because no hearing was conducted as to

 Plaintiff's IDEA related issues, she is not an aggrieved party under the statute and

 her administrative remedies have not been exhausted.”).

        In this case, Plaintiff did not complete the due process hearing. Similar to the

 above cases, Plaintiff settled his dispute with the school district before the due

 process hearing was completed. As the above cases establish, this settlement does

 not satisfy the IDEA’s exhaustion requirement. Rather, Plaintiff was required to

 complete the due process hearing to satisfy the exhaustion mandate. Therefore,

 Plaintiff’s claim should be dismissed for failing to fully exhaust the IDEA’s

 administrative procedures.

                                     CONCLUSION

        Defendant, Sturgis Public Schools, requests that this Court enter an Order

 dismissing plaintiff’s lawsuit for failing to exhaust his administrative remedies

 before filing suit.

                                  s/TIMOTHY J. MULLINS
                                  GIARMARCO, MULLINS & HORTON, PC
                                  Attorney for Defendant
 DATED: December 20, 2018
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               CERTIFICATE OF ELECTRONIC SERVICE

        TIMOTHY J. MULLINS states that on December 20, 2018, he did serve a
 copy of Defendant Sturgis Public Schools’ Motion to Dismiss via the United
 States District Court electronic transmission on the aforementioned date.

                              s/TIMOTHY J. MULLINS
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